      Case 2:18-cv-03553-MMB Document 12 Filed 01/10/19 Page 1 of 1




                          L'NITED STA TES DISTRICT COLTRT
                        EASTERN DISTRICT OF PESNSYLV ANIA

OWEN HARTY, Individually,

              Plaintiffs,

V.                                                       No. 2:18-cv-03553-MMB

LALIBERTE L.L.C., d/b!a Sofitel Philadlephia
Hotel, a Delaware Limited Liability Company,

              Defendant.
                                                                        FILED
                                                                        JAN 10 2019
                                                                     KATEBARKMA!', ~
                                                                   Sy            De(>.

                                           ORDER

       A;',D NOW, 1lus the   _l_Q~y of }l'.V\u_~_, 2019, it having been reported !hat !he
claim(s) between the parties in the above action have been settled, and upon Order of the Court

pursuant to the provisions of Rule 41. l(b) of the Local Rules of Civil Procedure of this Court

(effective January 1, 1970), it is hereby ORDERED and DECRE:ED that the above action is

DISMISSED, with prejudice, pursuant to agreement of counsel.

       IT IS SO ORDERED.



                                                          BY THE COURT:
